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  8                       UNITED STATES DISTRICT COURT
  9                    SOUTHERN DISTRICT OF CALIFORNIA
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 12 IN RE:                             Case No. 3:17-CV-00108-GPC-MDD
                                       [Consolidated with Case No. 3:17-CV-01010-
 13 QUALCOMM LITIGATION                GPC-MDD]
 14                                    ORDER GRANTING JOINT REQUEST
 15                                    REGARDING COURTROOM
                                       EQUIPMENT
 16
 17                                    [ECF No. 1145.]
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      ORDER RE COURTROOM EQUIPMENT
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  1         The Court, having considered Apple Inc. (“Apple”); Compal Electronics, Inc.,
  2 Hon Hai Precision Industry Co., Ltd., FIH Mobile Ltd., Pegatron Corporation, and
  3 Wistron Corporation (collectively, the “Contract Manufacturers” or “CMs”); and
  4 Qualcomm Incorporated’s (“Qualcomm”) request, hereby grants permission to bring
  5 the following equipment into Courtroom 2D beginning on Thursday, April 11 at 9:00
  6 a.m., as previously arranged with the Courtroom Deputy, and to use the equipment
  7 for the duration of the trial beginning on April 15, 2019:
  8     1. One 72” x 18” table
  9            a. One table for Apple and the CMs to be placed in front of the seats
 10               immediately before the bar
 11     2. One 2’ x 5’ table
 12            a. One table for Qualcomm to be placed to the right of the defense table
 13     3. Two A/V stands
 14     4. Two video switches
 15     5. Two video splitters
 16     6. Seven 24” LCD monitors
 17            a. Two monitors at Apple’s and the CMs’ table identified in item 1
 18            b. Three monitors for counsel tables
 19            c. One monitor for the Courtroom Deputy
 20            d. One monitor for the Law Clerk
 21     7. Two 42” LCD monitors
 22            a. One 42” monitor to be placed on the floor in front of the jury box for
 23               opening statements and closing arguments only
 24            b. One mobile 42” monitor to be placed in the well for opening
 25               statements and closing arguments only
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      ORDER RE COURTROOM EQUIPMENT              -1-
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  1     8. Two monitor stands for 42” monitors used in openings and closings (see
  2        items 7(a) and 7(b), above)
  3     9. Five tablets for realtime feed
  4     10.Rolling carts
  5     11.Library carts
  6     12.Two small printer/scanners
  7     13.One speaker system
  8     14.Laptops, tablets, and computer peripherals, including mifi hotspots, cables,
  9        cords, power strips, hard drives
 10     15.Laser pointers
 11     16.Physical equipment and evidence, including iPhones and related components
 12     17.Boxes of documents to lodge with the Court, as well as boxes of documents
 13        for each party to use during trial
 14     18.Two easels
 15   SO ORDERED.

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      Dated: April 14, 2019
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       ORDER RE COURTROOM EQUIPMENT               - 2-
